                   Case: 18-01096         Doc: 67-1      Filed: 03/27/19        Page: 1 of 1
                                               Wednesday, March 27, 2019 at 4:43:13 PM Central Daylight Time

 Subject: Re: I am ﬁling a request for expedited hearing before Judge Cornish
 Date: Tuesday, March 26, 2019 at 4:18:45 PM Central Daylight Time
 From: Jim Timberlake
 To:      Alex Bednar, Rod Heggy, Remillard, Carri, ScoO P. Kirtley
 BCC:     Donald J. Timberlake

I am out of state tomorrow through Friday and out of the country without access to communications from
April 1-5. As such, I am unavailable for an expedited hearing prior to April 8.



From: Alex Bednar <bednarconsult@gmail.com>
Sent: Tuesday, March 26, 2019 3:28 PM
To: Rod Heggy; Remillard, Carri; Jim Timberlake; ScoO P. Kirtley
Subject: I am ﬁling a request for expedited hearing before Judge Cornish

Folks,

The BAP procedural rules require that a request for stay be first asked of the bankruptcy court prior to
seeking relief in the BAP, and the BAP granted me the ability to do so previously. Do any of you object to
having an expedited hearing on my Motion for Stay pending appeal. I would like to have Judge Cornish
rule on or before April 5, 2019.


Please advise if any of you object to an expedited hearing on or before April 5 2019, given the fact that
the BAP has set oral arguments on May 29, 2019.

Thank you.

--
Alexander L. Bednar, J.D., LL.M.
BEDNAR LAW FIRM




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